104 F.3d 358
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.John CARTER, Plaintiff-Appellant,v.Angela Pickney RUIZ, Hearing Officer;  Rufus E. Mincey;John I. Nichols;  Benjamin Montgomery;  L.J.Allen;  Parker Evatt, in theirindividual capacities,Defendants-Appellees.
    No. 96-7321.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 12, 1996.Decided Dec. 19, 1996.
    
      Appeal from the United States District Court for the District of South Carolina, at Greenville.  Matthew J. Perry, Jr., Senior District Judge.  (CA-95-988-6-0AK)
      John Carter, Appellant Pro Se.  Sandra Jane Senn, STUCKEY &amp; SENN, Charleston, South Carolina, for Appellees.
      D.S.C.
      AFFIRMED.
      Before MURNAGHAN, NIEMEYER, and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order denying relief on his 42 U.S.C. § 1983 (1994) complaint.  We have reviewed the record and the district court's opinion accepting the magistrate judge's recommendation and find no reversible error.  Accordingly, we deny Appellant's motion to appoint counsel and affirm on the reasoning of the district court.  Carter v. Ruiz, No. CA-95-988-6-0AK (D.S.C. July 26, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    